






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00843-CV






G.B., Appellant


v.


Texas Department of Family and Protective Services, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 261ST JUDICIAL DISTRICT

NO. D-1-FM-09-002694, HONORABLE LORA J. LIVINGSTON, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		Appellant G.B. (1) has filed a motion to dismiss this appeal.  Appellant certifies that he
has conferred with appellee and the attorney ad litem and that they do not oppose this motion.  We
grant the motion and dismiss the appeal.  See Tex. R. App. P. 42.1(a)(1). 


						__________________________________________

						Melissa Goodwin, Justice

Before Chief Justice Jones, Justices Henson and Goodwin

Dismissed on Appellant's Motion

Filed:   June 16, 2011
1.     We use an alias to refer to appellant.  See Tex. R. App. P. 9.8. 


